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                      I
                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., et al.,

     Plaint ffs,
                                                    Civil Action No. 1:1 8-cv-295
V.



CONSUMER FINANCIAL PROTECTION
BUREAU, et al.,

     Defendants.


                                           -L3        ORDER

          Before the court in the above styled and numbered case is Defendants' Unopposed

Motion for Leave to File Response in Excess of Page Limit, filed June 22, 2018. Included with

the motion is Defendants' Response in Support of Plaintiffs' Motion for Reconsideration.

Having considered the motion and the attached response, the case file, and the applicable law,

          IT IS ORDERED that Defendants' motion for leave to file a motion in excess of page

limits, filed June 22, 2018, is GRANTED.

          The clerk of court shall file Defendants' Response in Support of Plaintiffs' Motion for

Reconsideration in this action.

          SIGNED this          day of      ri e      .10   2




                                                             ANOR,(BLE LE EAKEL
                                                        JNITED STdTES DISTRICT JUDGE
